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  JS 44 (Rev. 12/07)                                                    CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a) PLAINTIFFS                                                                                           DEFENDANTS
Gina M. Wofford                                                                                       Equifax Informayion Services, LLC

(b) County of Residence of First Listed Plaintiff            County of Clark                            County of Residence of First Listed Defendant
                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (EXCEPT IN U.S. PLAINTIFF CASES)
                                                                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE LAND
                                                                                                                  INVOLVED.
(c) Attorney’s (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
Miles N. Clark, Esq., Matthew I. Knepper, Esq., KNEPPER & CLARK LLC, 10040 W. Cheyenne
Ave., Las Vegas, NV 702-825-6060.

II. BASIS OF JURISDICTION                      (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                      (For Diversity Cases Only)                                      and One Box for Defendant)
  1    U.S. Government                  3 Federal Question                                                                     PTF      DEF                                          PTF      DEF
         Plaintiff                          (U.S. Government Not a Party)                       Citizen of This State            1         1     Incorporated or Principal Place          4      4
                                                                                                                                                 of Business In This State

  2    U.S. Government                  4 Diversity                                             Citizen of Another State           2         2   Incorporated and Principal Place         5       5
         Defendant                                                                                                                                  of Business In Another State
                                             (Indicate Citizenship of Parties in Item III)
                                                                                                Citizen or Subject of a            3         3   Foreign Nation                           6       6
                                                                                                  Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)
         CONTRACT                                          TORTS                                  FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
  110 Insurance                     PERSONAL INJURY                  PERSONAL INJURY              610 Agriculture                      422 Appeal 28 USC 158            400 State Reapportionment
  120 Marine                         310 Airplane                     362 Personal Injury -       620 Other Food & Drug                423 Withdrawal                   410 Antitrust
  130 Miller Act                     315 Airplane Product                 Med. Malpractice        625 Drug Related Seizure                 28 USC 157                   430 Banks and Banking
  140 Negotiable Instrument              Liability                   365 Personal Injury -            of Property 21 USC 881                                            450 Commerce
  150 Recovery of Overpayment        320 Assault, Libel &                 Product Liability       630 Liquor Laws                      PROPERTY RIGHTS                  460 Deportation
     & Enforcement of Judgment           Slander                     368 Asbestos Personal        640 R.R. & Truck                     820 Copyrights                   470 Racketeer Influenced and
  151 Medicare Act                   330 Federal Employers’               Injury Product          650 Airline Regs.                    830 Patent                           Corrupt Organizations
  152 Recovery of Defaulted              Liability                        Liability               660 Occupational                     840 Trademark                    480 Consumer Credit
      Student Loans                  340 Marine                    PERSONAL PROPERTY                   Safety/Health                                                    490 Cable/Sat TV
      (Excl. Veterans)               345 Marine Product              370 Other Fraud              690 Other                                                             810 Selective Service
  153 Recovery of Overpayment            Liability                   371 Truth in Lending                   LABOR                      SOCIAL SECURITY                  850 Securities/Commodities/
      of Veteran’s Benefits          350 Motor Vehicle               380 Other Personal           710 Fair Labor Standards             861 HIA (1395ff)                     Exchange
  160 Stockholders’ Suits            355 Motor Vehicle                   Property Damage              Act                              862 Black Lung (923)             875 Customer Challenge
  190 Other Contract                     Product Liability           385 Property Damage          720 Labor/Mgmt. Relations            863 DIWC/DIWW (405(g))               12 USC 3410
  195 Contract Product Liability     360 Other Personal                  Product Liability        730 Labor/Mgmt.Reporting             864 SSID Title XVI               890 Other Statutory Actions
  196 Franchise                          Injury                                                      & Disclosure Act                  865 RSI (405(g))                 891 Agricultural Acts
     REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             740 Railway Labor Act                FEDERAL TAX SUITS                892 Economic Stabilization Act
  210 Land Condemnation              441 Voting                      510 Motions to Vacate        790 Other Labor Litigation           870 Taxes (U.S. Plaintiff        893 Environmental Matters
  220 Foreclosure                    442 Employment                      Sentence                 791 Empl. Ret. Inc.                       or Defendant)               894 Energy Allocation Act
  230 Rent Lease & Ejectment         443 Housing/                    Habeas Corpus:                   Security Act                     871 IRS—Third Party              895 Freedom of Information
  240 Torts to Land                     Accommodations               530 General                                                           26 USC 7609                      Act
  245 Tort Product Liability         444 Welfare                     535 Death Penalty                IMMIGRATION                                                       900Appeal of Fee Determination
  290 All Other Real Property        445 Amer. w/Disabilities -      540 Mandamus & Other         462 Naturalization Application                                            Under Equal Access
                                        Employment                   550 Civil Rights             463 Habeas Corpus -                                                       to Justice
                                     446 Amer. w/Disabilities -      555 Prison Condition            Alien Detainee                                                     950 Constitutionality of
                                        Other                                                     465 Other Immigration                                                     State Statutes
                                     440 Other Civil Rights                                          Actions




V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                           Appeal to District
                                                                                                                                                                                    Judge from
  1 Original                2 Removed from                  3 Remanded from                   4 Reinstated or             5 Transferred  from
                                                                                                                            another district        6 Multidistrict            7 Magistrate
       Proceeding              State Court                        Appellate Court               Reopened                                   Litigation
                                                                                                                  (specify)                                                         Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                     15 USC § 1681
VI. CAUSE OF ACTION Brief description of cause: violations of the Fair Credit Reporting Act

VII. REQUESTED IN       CHECK IF THIS IS A CLASS ACTION                                            DEMAND $ CHECK YES only if demanded in complaint:
     COMPLAINT:        UNDERF.R.C.P.23                                                                                        JURY DEMAND:                                   Yes         No
VIII. RELATED CASE(S)
                      (See instructions):
      IF ANY                              JUDGE                                                                                        DOCKET NUMBER

DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD

       January 16, 2017                                                             /s/David H. Krieger, Esq.
FOR OFFICE USE ONLY

 RECEIPT #                     AMOUNT                                    APPLYING IFP                                     JUDGE                         MAG. JUDG


                                                                                                 1
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Attorneys for Plaintiff
                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA

                                            :
Gina M. Wofford,                            :     Civil Action No.:
                                            :
                     Plaintiff,             :
       v.                                   :     COMPLAINT FOR DAMAGES
                                            :     PURSUANT TO THE FAIR CREDIT
Equifax Information Services, LLC; PHH      :     REPORTING ACT, 15 U.S.C. § 1681, ET
Mortgage Corporation a/k/a Mortgage Service :     SEQ.
Center – PHH; Silver State Schools Credit   :
Union; and Trans Union LLC,                 :     JURY TRIAL DEMANDED
                                            :
                     Defendants.            :
                                            :

                                        INTRODUCTION
1.     The United States Congress has found the banking system is dependent upon fair and

       accurate credit reporting. Inaccurate credit reports directly impair the efficiency of the

       banking system, and unfair credit reporting methods undermine the public confidence,
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     which is essential to the continued functioning of the banking system. Congress enacted

     the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), to insure fair and

     accurate reporting, promote efficiency in the banking system, and protect consumer

     privacy. The FCRA seeks to ensure consumer reporting agencies exercise their grave

     responsibilities with fairness, impartiality, and a respect for the consumer’s right to

     privacy because consumer reporting agencies have assumed such a vital role in

     assembling and evaluating consumer credit and other information on consumers. The

     FCRA also imposes duties on the sources that provide credit information to credit

     reporting agencies, called “furnishers.”

2.   The FCRA protects consumers through a tightly wound set of procedural protections

     from the material risk of harms that otherwise flow from inaccurate reporting. Thus,

     through the FCRA, Congress struck a balance between the credit industry’s desire to base

     credit decisions on accurate information, and consumers’ substantive right to protection

     from damage to reputation, shame, mortification, and the emotional distress that naturally

     follows from inaccurate reporting of a consumer’s fidelity to his or her financial

     obligations.

3.   Gina M. Wofford (“Plaintiff”), by Plaintiff’s attorneys, brings this action to challenge

     the actions of Equifax Information Services, LLC (“Equifax”), PHH Mortgage

     Corporation a/k/a Mortgage Service Center – PHH (“MSC”), Silver State Schools Credit

     Union (“SSSCU”), and Trans Union LLC (“Trans Union”) (or jointly as “Defendants”)

     with regard to erroneously reporting derogatory credit information to national reporting

     agencies.




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4.    Defendants failed to properly investigate Plaintiff’s disputes, damaging Plaintiff’s

      creditworthiness.

                                      JURISDICTION AND VENUE
5.    This Court has federal question jurisdiction because this case arises out of violation of

      federal law. 15 U.S.C. §1681 et seq.; 28 U.S.C. §1331; Smith v. Community Lending,

      Inc., 773 F.Supp.2d 941, 946 (D. Nev. 2011).

6.    This action arises out of each Defendant’s violations of the Fair Credit Reporting Act, 15

      U.S.C. §§ 1681-1681(x) (“FCRA”).

7.    Venue is proper in the United States District Court for the District of Nevada pursuant to

      28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark County, the State of Nevada

      and because Defendants are subject to personal jurisdiction in the County of Clark, State

      of Nevada as they conduct business there. Venue is also proper because, the conduct

      giving rise to this action occurred in Nevada. 28 U.S.C. § 1391(b)(2).

8.    Further, Equifax and Trans Union have registered agents of service in Nevada and are

      listed with the Nevada Secretary of State as foreign limited liability companies doing

      business in Nevada.

                                           PARTIES
9.    Plaintiff is a natural person residing in the County of Clark, State of Nevada. In addition,

      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1681a(c).

10.   Defendant MSC is a corporation doing business in the State of Nevada, and is a furnisher

      of information as contemplated by 15 U.S.C. § 1681s-2(b) that regularly and in the

      ordinary course of business furnishes information to a consumer credit reporting agency.

11.   Defendant SSSCU is a corporation doing business in the State of Nevada, and is a

      furnisher of information as contemplated by 15 U.S.C. § 1681s-2(b) that regularly and in

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      the ordinary course of business furnishes information to a consumer credit reporting

      agency.

12.   Defendant Equifax regularly assembles and/or evaluates consumer credit information for

      the purpose of furnishing consumer reports to third parties, and uses interstate commerce

      to prepare and/or furnish the reports. Equifax is a “consumer reporting agency” as that

      term is defined by 15 U.S.C. § 1681a(f), doing business with its principal place of

      business in Georgia.

13.   Defendant Trans Union regularly assembles and/or evaluates consumer credit

      information for the purpose of furnishing consumer reports to third parties, and uses

      interstate commerce to prepare and/or furnish the reports. Trans Union is a “consumer

      reporting agency” as that term is defined by 15 U.S.C. § 1681a(f), doing business with its

      principal place of business in Illinois.

14.   Unless otherwise indicated, the use of Defendants’ name in this Complaint includes all

      agents, employees, officers, members, directors, heirs, successors, assigns, principals,

      trustees, sureties, subrogees, representatives, and insurers of Defendants’ named.

                                    GENERAL ALLEGATIONS
15.   On or about 7/31/2009, Plaintiff filed for Chapter 13 Bankruptcy in the United States

      Bankruptcy Court for the District of Nevada pursuant to 11 U.S.C. §1301 et seq.

      Plaintiff’s case was assigned Case Number 09-23907-btb (the “Chapter 13” or

      “Bankruptcy”).

16.   The obligations (“Debt”) to each Defendant herein (as applicable) were scheduled in the

      Bankruptcy and each respective creditor-Defendant, or its predecessor in interest,

      received notice of the Bankruptcy.



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17.   On 4/09/2010, the Plaintiff’s Chapter 13 Plan was confirmed (the “Confirmed Chapter 13

      Plan” or “Confirmation Order”).

18.   A confirmed plan constitutes a new contract between the debtor and creditors and a

      creditor's rights are defined by the confirmed plan. Consequently, a pre-petition claim

      provided for in a confirmed plan is no longer a pre-petition claim. The claim is a right to

      payment arising from the confirmed plan. Padilla v. Wells Fargo Home Mortg., Inc. (In

      re Padilla), 379 B.R. 643, 649, 2007 Bankr. LEXIS 2655, *1 (Bankr. S.D. Tex. 2007).

19.   Plaintiff ultimately made all payments required under the terms of the Confirmed Chapter

      13 plan.

20.   None of the Defendants named herein obtained relief from the “automatic stay” codified

      at 11 U.S.C. §362 et seq. while the Plaintiff’s Bankruptcy was pending to pursue the

      Plaintiff for any personal liability.

21.   Accordingly, the debts to each Defendant named herein (as applicable) were discharged

      through the Bankruptcy on 6/15/2015.

22.   However, Defendants named herein, and each of them, either reported or caused to be

      reported inaccurate information after the Bankruptcy as discussed herein.

23.   Defendant’s reporting post-Bankruptcy derogatory information was inaccurate and

      misleading in that each Defendant continued reporting information based on each

      respective Defendant’s pre-bankruptcy contract terms with the Plaintiff, which were no

      longer enforceable upon the bankruptcy filing, thereby rendering the disputed

      information “inaccurate”.

24.   The adverse information reported by Defendants was based on each respective

      Defendant’s improper enforcement and reporting of pre-bankruptcy obligations, where



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      such reporting failed to comply with the payment structure set forth in the Plaintiff’s

      Chapter 13 Plan. Failing to report consistent with the terms of the Chapter 13 plan was

      therefore inaccurate, since all the Plaintiff’s pre-bankruptcy creditors (whether eventually

      discharged or not) were subject to repayment pursuant to the Chapter 13 plan terms while

      the Bankruptcy was pending.

25.   Additionally, Defendant’s inaccurate reporting did not comply with the Consumer Data

      Industry Association’s Metro 2 reporting standards, which provides guidance for credit

      reporting and FCRA compliance.

26.   The Consumer Data Industry Association (“CDIA”) publishes the Metro 2 (“Metro 2”)

      reporting standards to assist furnishers with their compliance requirements under the

      FCRA.

27.   Courts rely on such guidance to determine furnisher liability. See e.g. In re Helmes, 336

      B.R. 105, 107 (Bankr. E.D. Va. 2005) (finding that "industry standards require that a debt

      discharged in bankruptcy be reported to a credit reporting agency with the notation

      `Discharged in bankruptcy' and with a zero balance due”).

28.   On information and belief, Defendants herein adopted and at all times relevant

      implemented the Metro 2 format.

29.   On information and belief, each furnisher-Defendant named herein adopted the Metro 2

      reporting standards and at all times relevant implemented the Metro 2 format as an

      integral aspect of their respective duties under the FCRA to have in place adequate and

      reasonable policies and procedures to handle investigations of disputed information.

30.   The Metro 2 format guidelines for credit reporting are nearly identical for reports made

      during the “Month BK Filed,” “Months Between Petition Filed and BK Resolution,” and



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      after “Plan Completed” for Chapter 13 Debtors and furnishers who choose to report post-

      bankruptcy credit information to CRAs. See e.g., 2015 CDIA Credit Reporting Resource

      Guide (“2015 Metro 2”), Frequently Asked Question 28(a), at pages 6-21 – 6-22.

31.   Thus, many of the consumer reporting fields should be reported the same way both

      during and after a bankruptcy proceeding, id., with the following relevant exceptions:

      a.          Current Balance

             i.         For the “Month BK Filed” and “Months Between Petition Filed & BK

                        Resolution,” Metro 2 instructs the furnisher to report the outstanding

                        balance amount. Id.

           ii.          However, for the “Plan Confirmed” period, Metro 2 instructs the furnisher

                        to report the “Chapter 13 plan balance, which should decline as payments

                        are made.” Id. at 6-22.

           iii.         And, for Current Balance reporting when “Plan Completed – All payments

                        made according to plan – no further obligation,” Metro 2 instructs the

                        furnisher to report a current balance of “Zero.” Id.

      b.          Scheduled Monthly Payment Amount:

             i.         For the “Month BK Filed” and “Months Between Petition Filed & BK

                        Resolution,” Metro 2 instructs the furnisher to report the “contractual

                        monthly payment amount.” Id. at 6-21.

           ii.          However, for the “Plan Confirmed” period, Metro 2 instructs the furnisher

                        to report the “Chapter 13 Payment Amount.” Id. at 6-22.

           iii.         And, for Scheduled Monthly Payment Amount reporting when “Plan

                        Completed – All payments made according to plan – no further



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                     obligation,” Metro 2 instructs the furnisher to report a current balance of

                     “Zero.” Id.

32.   Despite Metro 2 Format’s instructions, each furnisher-Defendant named herein failed to

      conform to the Metro 2 Format when reporting on Plaintiff’s accounts after the Plaintiff

      filed Bankruptcy as further set forth below.

33.   In turn, each of the credit reporting agencies named herein, rereported the inaccurate

      information, thus violating their duty to follow reasonable procedures to assure maximum

      possible accuracy under 15 U.S.C. § 1681e(b) when preparing a consumer report.

34.   To this end, the adverse reporting on the Plaintiff’s consumer report departed from the

      credit industry’s own reporting standards and was not only inaccurate, but also materially

      misleading under the CDIA’s standards as well.

35.   A "materially misleading" statement is concerned with omissions to credit entries, that in

      context create misperceptions about otherwise may be factually accurate data. Gorman v.

      Wolpoff & Abramson, LLP, 584 F.3d 1147, 1163 (9th Cir. 2009).

36.   Additionally, Reporting and rereporting inaccurate and/or misleading statements also

      violates 15 U.S.C. § 1681g(a) because the lack of clarity in the information reported and

      rereported has the tendency to confuse ordinary consumers like Plaintiff.

                              THE EQUIFAX VIOLATIONS

                           MSC Misreported Credit Information

                           RE: Account No. 9544003375XXXX*

37.   In an Equifax credit report dated February 2, 2016, MSC inaccurately reported that the

      Plaintiff was still making an “actual payment amount” of $1,805 even though MSC’s




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       debt was discharged in the Bankruptcy. It was therefore inaccurate and misleading for

       MSC to report any payment amount greater than $0.

38.    Further, MSC inaccurately reported that the Plaintiff’s date of first major delinquency

       (“First Major Delinquency”) occurred in December 2014, when the Plaintiff filed

       Bankruptcy on 7/31/2009. The First Major Delinquency date should have been no later

       than the Bankruptcy filing date. By reporting a First Major Delinquency later than the

       Bankruptcy filing date MSC caused the First Major Delinquency to remain on the

       Plaintiff’s credit reported longer than allowed under the FCRA’s obsolescence period

       codified at 15 U.S.C. § 1681c(a). MSC’s “re-aging” of its debt is illegally causing the

       trade line to remain on the Plaintiff’s credit report longer than legally permissible.

39.    On or about April 11, 2016, pursuant to 15 U.S.C. § 1681i(a)(2), Plaintiff disputed

       MSC’s reported information regarding its reported obligation by notifying Equifax, in

       writing, of the incorrect and inaccurate credit information furnished by MSC.

40.    Specifically, Plaintiff sent a letter to Equifax (the “Equifax Dispute Letter”), requesting

       the above inaccurate and incorrect derogatory information be removed, corrected or

       deleted.

41.    Upon information and belief, upon receiving the Equifax Dispute Letter, Equifax timely

       notified MSC of the dispute based on its mandated statutory duty pursuant to 15 U.S.C. §

       1681i.

42.    Defendants were each required to conduct an investigation into this specific account on

       Plaintiff’s consumer report pursuant to 15 U.S.C. § 1681i.

43.    On or about May 7, 2016, Plaintiff received notification from Equifax through its

       “reinvestigation” (Equifax Confirmation # 6110044293) (“Equifax Reinvestigation”) that



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       MSC and Equifax received notice of Plaintiff’s dispute pursuant to 15 U.S.C. §

       1681i(a)(6).

44.    A reasonable investigation by these Defendants would have indicated that Plaintiff filed

       for Chapter 13 bankruptcy and made all required Chapter 13 plan payments, since

       Plaintiff obtained a discharge.

45.    MSC and Equifax failed to conduct a reasonable investigation as required by 15 U.S.C.

       §§ 1681s-2(b)(1)(A) and/or 1681i(a), and wrongly verified inaccurate information in

       connection with Plaintiff’s credit reports.

46.    MSC and Equifax failed to review all relevant information provided by Plaintiff in the

       dispute to Equifax, as required by and in violation of 15 U.S.C. §§ 1681s-2(b)(1)(B) and

       1681i(a), respectively.

47.    MSC and Equifax re-reported the inaccurate derogatory information on Plaintiff’s report.

       Specifically, MSC and Equifax still reported an “Actual Payment Amount” of $1,805,

       and added a “Scheduled Payment Amount” of $1,805. Additionally, MSC and Equifax

       continued to report the First Major Delinquency date of 12/2014.

48.    MSC and Equifax, upon receipt of Plaintiff’s dispute, failed to conduct an investigation

       with respect to the disputed information as required by 15 U.S.C. §§ 1681s-2(b)(1)(B)

       and/or 1681i(a), respectively.

49.    Due to MSC and Equifax’s failure to reasonably investigate Plaintiff’s dispute, they each

       further failed to correct and update Plaintiff’s information as required by 15 U.S.C. §

       1681s-2(b)(1)(E), thereby causing continued reporting of inaccurate information in

       violation of 15 U.S.C. §§ 1681-s(2)(b)(1)(C) and/or 1681e(b), respectively.




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50.    Plaintiff’s Equifax Dispute Letter also included a statement of dispute as that term is

       meant pursuant to 15 U.S.C. § 1681i(b). Specifically, the Plaintiff requested that in the

       event Equifax failed to make the requested corrections identified in the Plaintiff’s

       Equifax Dispute Letter that Equifax include a statement on the Plaintiff’s credit report

       stating that the instant account was disputed. However, Equifax failed to provide such a

       statement and thereby breached its statutory obligations under 15 U.S.C. § 1681i(b).

51.    Upon information and belief, Equifax also failed in Plaintiff’s subsequent consumer

       reports containing the above disputed information to clearly note that this account was

       disputed by the Plaintiff and provide either the Plaintiff’s dispute statement or a clear and

       accurate codification or summary of the dispute in violation of Equifax’s statutory

       obligations under 15 U.S.C. § 1681i(c).

52.    Reporting and rereporting the above-referenced derogatory information also constituted a

       violation of 15 U.S.C. § 1681g(a) because the lack of clarity in the information reported

       and rereported has the tendency to confuse ordinary consumers like Plaintiff.

53.    Plaintiff’s continued efforts to correct MSC and Equifax’s erroneous and negative

       reporting of the discharged debt by communicating Plaintiff’s dispute with MSC and

       Equifax were fruitless.

54.    MSC and Equifax’s continued inaccurate and negative reporting of the discharged debt in

       light of its knowledge of the actual error was willful. Plaintiff is, accordingly, eligible for

       statutory damages.

55.    Also as a result of MSC and Equifax’s continued inaccurate and negative reporting,

       Plaintiff has suffered actual damages, including without limitation credit denials, fear of




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       credit denials, out-of-pocket expenses in challenging the Defendants’ wrongful

       representations, damage to his creditworthiness, and emotional distress.

56.    By inaccurately reporting account information relating to the discharged debt after notice

       and confirmation of its errors, MSC and Equifax failed to take the appropriate measures

       as required under 15 U.S.C. §§ 1681-s(2)(b)(1)(D) and/or (E), 1681i(a) and 1681e(b),

       respectively.

                            SSSCU Misreported Credit Information

                                     RE: Account Nos. 1132*

57.    In an Equifax credit report dated February 2, 2016, SSCU reported four accounts, all

       bearing the account number “1132*”. The first account, purportedly opened 9/15/2009,

       did not list a high credit limit (the “Unlisted Account”). The second account, purportedly

       opened 11/9/2006, listed a high credit of $11,798 (“$11,798 Account”).                   The third

       account, purportedly opened 1/9/2003, listed a high credit of $14,179 (the “$14,179

       Account”). The fourth account, purportedly opened 6/19/2003, listed a high credit of

       $21,374 (the “$21,374 Account”).

58.    On the Unlisted Account, SSSCU inaccurately reported a date of first delinquency on

       11/2012 (“First Delinquency”) and a date of first major delinquency on 02/2013 (“First

       Major Delinquency”) (collectively, “DLA”). Neither the First Delinquency nor the First

       Major Delinquency date should have been later than the Bankruptcy filing date. By reporting

       a DLA later than the Bankruptcy filing date SSSCU caused the DLA to remain on the

       Plaintiff’s credit reported longer than allowed under the FCRA’s obsolescence period

       codified at 15 U.S.C. § 1681c(a). SSSCU’s “re-aging” of its debt is illegally causing the

       trade line to remain on the Plaintiff’s credit report longer than legally permissible.



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59.    On the $11,798 Account, SSSCU listed a “date of last payment on 11/2012.” By reporting

       a “date of last payment” later than the Bankruptcy filing date SSSCU caused the DLA to

       remain on the Plaintiff’s credit reported longer than allowed under the FCRA’s

       obsolescence period codified at 15 U.S.C. § 1681c(a). SSSCU’s “re-aging” of its debt is

       illegally causing the trade line to remain on the Plaintiff’s credit report longer than legally

       permissible. Additionally, the $11,798 Account listed a “scheduled payment amount” of

       $203. This was misleading, as it tended to suggest that Plaintiff was still obligated to pay

       the amounts due, even though Plaintiff’s obligation to pay on the $11,798 Account had

       ceased as a result of Plaintiff’s Chapter 13 bankruptcy.

60.    In the Equifax Dispute Letter, and again pursuant to 15 U.S.C. § 1681i(a)(2), Plaintiff

       disputed SSSCU’s reported information regarding its reported obligation by notifying

       Equifax, in writing, of the incorrect and inaccurate credit information furnished by

       SSSCU on accounts ending in 1132*. In the Equifax Dispute Letter, Plaintiff requested

       that inaccurate and derogatory information be removed, corrected or deleted.

61.    By referencing the common identifier “1132*”, plaintiff gave reasonable notice to

       Equifax and SSSCU of its duty to investigate each of the four SSSCU accounts listed

       above.

62.    Upon information and belief, upon receiving the Equifax Dispute Letter, Equifax timely

       notified SSSCU of the dispute based on its mandated statutory duty pursuant to 15 U.S.C.

       § 1681i.

63.    Defendants were each required to conduct an investigation into this specific account on

       Plaintiff’s consumer report pursuant to 15 U.S.C. § 1681i.




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64.    On or about May 7, 2016, Plaintiff received notification from Equifax through the

       Equifax Reinvestigation that SSSCU and Equifax received notice of Plaintiff’s dispute

       pursuant to 15 U.S.C. § 1681i(a)(6).

65.    A reasonable investigation by these Defendants would have indicated that Plaintiff filed

       for Chapter 13 bankruptcy and made all required Chapter 13 plan payments, since

       Plaintiff obtained a discharge.

66.    SSSCU and Equifax failed to conduct a reasonable investigation as required by 15

       U.S.C. §§ 1681s-2(b)(1)(A) and/or 1681i(a), and wrongly verified inaccurate information

       in connection with Plaintiff’s credit reports.

67.    SSSCU and Equifax failed to review all relevant information provided by Plaintiff in the

       dispute to Equifax, as required by and in violation of 15 U.S.C. §§ 1681s-2(b)(1)(B) and

       1681i(a), respectively.

68.    On information and belief, SSSCU and Equifax re-reported the inaccurate derogatory and

       misleading information on Plaintiff’s report.

69.    In its Reinvestigation, Equifax listed four separate SSSCU accounts. However, it is

       unclear which of the four accounts was actually reinvestigated.

70.    SSSCU first referenced the $11,798 Account in three separate entries. For the first and

       second entries, Equifax stated that “this item has been deleted from the credit file.” The

       tradeline data appearing below these purported “deletions” was identical to how it

       appeared on the Equifax Credit Report, with the exception that “additional information”

       that the account was included in “Bankruptcy Chapter 13,” and the “date opened” was

       changed from 11/09/2006 to 11/01/2006. Equifax and SSSCU continued to report a “date

       of last payment of 11/2012, and a “scheduled payment amount” of $203.



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71.    Equifax also referenced the $11,798 Account in the third entry. In apparent contradiction

       to the first two entries, Equifax now stated that “This account has been updated to show

       included in bankruptcy/include in bankruptcy of another person.” Equifax also stated

       that “Additional information has been provided from the original source regarding this

       item.” However, the third entry was identical to how it appeared on the Equifax Credit

       Report, with the exception that “additional information” that the account was included in

       “Bankruptcy Chapter 13,” and the “date opened” was changed from 11/09/2006 to

       11/01/2006. Equifax and SSSCU continued to report a “date of last payment of 11/2012,

       and a “scheduled payment amount” of $203.

72.    Despite the patent contradiction between Equifax’s apparent two decisions to “delete”

       and “update” the $11,798 Account, Equifax stated that “If you have additional questions

       about this item please contact” SSSCU.

73.    On the fourth entry, Equifax listed an account which on information and belief was the

       Unlisted Account. Equifax stated that “The last payment date has been added/updated.

       The date of last activity has been updated. Additional information has been provided

       from the original source regarding this item.” However, the Unlisted Account continued

       to list the First Major Delinquency as occurring in February 2013.

74.    SSSCU and Equifax failed to investigate the $14,179 Account or the $21,374 Account,

       despite being placed on reasonable notice that Plaintiff requested the same by referencing

       the 1132* account in her Equifax Dispute Letter.

75.    SSSCU and Equifax, upon receipt of Plaintiff’s dispute, failed to conduct an investigation

       with respect to the disputed information as required by 15 U.S.C. §§ 1681s-2(b)(1)(B)

       and/or 1681i(a), respectively.



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76.    Due to SSSCU’s and Equifax’s failure to reasonably investigate Plaintiff’s dispute, they

       each further failed to correct and update Plaintiff’s information as required by 15 U.S.C.

       § 1681s-2(b)(1)(E), thereby causing continued reporting of inaccurate information in

       violation of 15 U.S.C. §§ 1681-s(2)(b)(1)(C) and/or 1681e(b), respectively.

77.    Plaintiff’s Equifax Dispute Letter also included a statement of dispute as that term is

       meant pursuant to 15 U.S.C. § 1681i(b). Specifically, the Plaintiff requested that in the

       event Equifax failed to make the requested corrections identified in the Plaintiff’s

       Equifax Dispute Letter that Equifax include a statement on the Plaintiff’s credit report

       stating that the instant account was disputed. However, Equifax failed to provide such a

       statement and thereby breached its statutory obligations under 15 U.S.C. § 1681i(b).

78.    Upon information and belief, Equifax also failed in Plaintiff’s subsequent consumer

       reports containing the above disputed information to clearly note that this account was

       disputed by the Plaintiff and provide either the Plaintiff’s dispute statement or a clear and

       accurate codification or summary of the dispute in violation of Equifax’s statutory

       obligations under 15 U.S.C. § 1681i(c).

79.    Reporting and rereporting the above-referenced derogatory and misleading information

       also constituted a violation of 15 U.S.C. § 1681g(a) because the lack of clarity in the

       information reported and rereported has the tendency to confuse ordinary consumers like

       Plaintiff.

80.    Additionally, reporting and rereporting Plaintiff’s SSSCU account numbers with the

       common identifier “1132*,” also caused the disclosure of information that would confuse

       an ordinary consumer under 15 U.S.C. § 1681g(a), because these common identifiers




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       made it practically impossible for Plaintiff to ascertain which changes Equifax and

       SSSCU had been made to which disputed accounts.

81.    Further, the Equifax Reinvestigation listed the $11,798 Account on three separate

       occasions, and indicated that the account had been both “deleted” and “updated”. These

       contradictory statements left Plaintiff to guess as to what course of action Equifax had

       actually decided to take, and violated 15 U.S.C. § 1681g(a) because the statements have

       the tendency to confuse ordinary consumers like Plaintiff.

82.    Plaintiff’s continued efforts to correct SSSCU’s and Equifax’s erroneous and negative

       reporting of the discharged debt by communicating Plaintiff’s dispute with SSSCU and

       Equifax were fruitless.

83.    SSSCU’s and Equifax’s continued inaccurate and negative reporting of the discharged

       debt in light of its knowledge of the actual error was willful. Plaintiff is, accordingly,

       eligible for statutory damages.

84.    Also as a result of SSSCU’s and Equifax’s continued inaccurate and negative reporting,

       Plaintiff has suffered actual damages, including without limitation credit denials, fear of

       credit denials, out-of-pocket expenses in challenging the Defendants’ wrongful

       representations, damage to his creditworthiness, and emotional distress.

85.    By inaccurately reporting account information relating to the discharged debt after notice

       and confirmation of its errors, SSSCU and Equifax failed to take the appropriate

       measures as required under 15 U.S.C. §§ 1681-s(2)(b)(1)(D) and/or (E), 1681i(a) and

       1681e(b), respectively.




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                            THE TRANS UNION VIOLATIONS

Trans Union Failed to Reinvestigate or Notify Chase Bank USA, NA of Plaintiff’s Dispute

86.    A February 3, 2016 Trans Union Credit Report (“Trans Union Credit Report”) listed an

       account from Chase Bank USA, NA (“Chase”), Account No. 45595050XXXX (“Chase

       Account”). This account, which had been included in Plaintiff’s bankruptcy, contained

       certain derogatory information. Specifically, Equifax and Chase reported a “status” of

       “Account 30 Days Past Due Date”, even though Plaintiff’s obligation to Chase had been

       discharged in her Chapter 13 bankruptcy.

87.    The Trans Union Credit Report also included an account from Wells Fargo

       DLRSVC/WACHO, Account No. 51888089XXXX (“Wells Fargo Account”), for which

       Plaintiff believed contained derogatory information.

88.    On or about April 11, 2016, pursuant to 15 U.S.C. § 1681i(a)(2), Plaintiff disputed

       Chase’s reported information regarding its reported obligation by notifying Trans Union,

       in writing, of the incorrect and inaccurate credit information furnished by Chase.

       Specifically, Plaintiff sent a letter to Trans Union (the “Trans Union Dispute Letter”),

       requesting the above inaccurate and incorrect derogatory information be removed,

       corrected or deleted. In this letter, Plaintiff also disputed information contained on the

       Wells Fargo Account.

89.    Trans Union, upon receipt of Plaintiff’s dispute, was required to conduct a reinvestigation

       into the Chase Account pursuant to 15 U.S.C. § 1681i.

90.    On May 6, 2016, Trans Union notified Plaintiff of the results of its reinvestigation,

       Report No. 360827670 (“Trans Union Reinvestigation”).




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91.    Although Trans Union indicated that the Wells Fargo Account had been “deleted,” the

       Trans Union Reinvestigation failed to mention the Chase Account at all, nor list any

       actions Trans Union had taken to reinvestigate the Chase Account. Thus, Plaintiff has no

       grounds to believe that Trans Union actually took any steps it was obligated to take to

       reinvestigate the Chase Account. Similarly, Plaintiff has no grounds to believe that Trans

       Union unilaterally deleted the information on her Chase Account under 15 U.S.C. §

       1681i(a)(5), or found her dispute to be frivolous under 15 U.S.C. § 1681i(a)(3).

92.    Because Trans Union failed to reinvestigate Plaintiff’s dispute into her Chase Account by

       notifying Chase under 15 U.S.C. § 1681(a)(2), Trans Union failed to correct and update

       Plaintiff’s information as required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing

       continued reporting of inaccurate information in violation of 15 U.S.C. § 1681-

       s(2)(b)(1)(C).

93.    Trans Union’s failure to reinvestigate and notify Plaintiff of the results of that

       reinvestigation, as outlined above, violated 15 U.S.C. § 1681i(a)(2).

94.    By inaccurately reporting account information relating to the discharged debt after notice

       and confirmation of its errors, Trans Union failed to take the appropriate measures as

       required under 15 U.S.C. §§ 1681-s(2)(b)(1)(E).

95.    Trans Union’s failure also evinced a failure to follow reasonable procedures to ensure

       maximum possible accuracy, as required under 15 U.S.C. § 1681e(b).

96.    Reporting and rereporting the above-referenced derogatory information also constituted a

       violation of 15 U.S.C. § 1681g(a) because the lack of clarity in the information reported

       and rereported has the tendency to confuse ordinary consumers like Plaintiff.




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97.     Trans Union’s failures, in light of its knowledge of the actual error, were willful.

        Plaintiff is, accordingly, eligible for statutory damages.

98.     As a result of Trans Union’s failure to conduct a reasonable reinvestigation or follow

        reasonable procedures, Plaintiff has suffered actual damages, including without limitation

        out-of-pocket expenses.

                                    FIRST CAUSE OF ACTION
                         VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                15 U.S.C. § 1681 ET SEQ. (FCRA)

99.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

        though fully stated herein.

100.    The foregoing acts and omissions constitute numerous and multiple willful, reckless or

        negligent violations of the FCRA, including but not limited to each and every one of the

        above-cited provisions of the FCRA, 15 U.S.C. §1681.

101.    As a result of each and every willful violation of the FCRA, Plaintiff is entitled to actual

        damages as the Court may allow pursuant to 15 U.S.C. § 1681n(a)(1); statutory damages

        pursuant to 15 U.S.C. § 1681n(a)(1); punitive damages as the Court may allow pursuant

        to 15 U.S.C. § 1681n(a)(2); and reasonable attorney’s fees and costs pursuant to 15

        U.S.C. § 1681n(a)(3) from Defendants.

102.    As a result of each and every negligent noncompliance of the FCRA, Plaintiff is entitled

        to actual damages as the Court may allow pursuant to 15 U.S.C. § 1681o(a)(1); and

        reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2) from

        Defendants.

                                       PRAYER FOR RELIEF
        Plaintiff respectfully requests the Court grant Plaintiff the following relief against

Defendants:

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                                   FIRST CAUSE OF ACTION
                          VIOLATION OF THE FAIR CREDIT REPORTING ACT
                                 15 U.S.C. § 1681 ET SEQ. (FCRA)

       •   an award of actual damages pursuant to 15 U.S.C. § 1681n(a)(1);

       •   award of statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);

       •   an award of punitive damages as the Court may allow pursuant to 15 U.S.C. §

           1681n(a)(2);

       •   award of costs of litigation and reasonable attorney’s fees, pursuant to 15 U.S.C. §

           1681n(a)(3), and 15 U.S.C. § 1681(o)(a)(1) against Defendant for each incident of

           negligent noncompliance of the FCRA; and

       •   any other relief the Court may deem just and proper.

                                             TRIAL BY JURY
        Pursuant to the seventh amendment to the Constitution of the United States of America,

Plaintiff is entitled to, and demands, a trial by jury.

Dated: January 16, 2017
                                                Respectfully submitted,

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